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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

CHRISTOPHER SCOTT SMITH                       §
and VERSATILE INSURANCE                       §
PLANNERS, LLC,                                §
      Plaintiffs,                             §
                                              §
vs.                                           §       CIVIL ACTION NO. 5:17-cv-00005-FB
                                              §
CERTAIN UNDERWRITERS AT                       §
LLOYD’S LONDON,                               §
    Defendant.                                §

         AGREED STIPULATION DISMISSING LAWSUIT WITH PREJUDICE

       Plaintiffs, Christopher Scott Smith and Versatile Insurance Planners, LLC and Defendant,

Certain Underwriters at Lloyd's, London hereby file this Agreed Stipulation Dismissing Lawsuit

With Prejudice (“Stipulation”). Plaintiffs, through their respective counsel, have agreed: (1) to

dismiss all claims and causes of action in this lawsuit with prejudice, and (2) that this action

should be terminated fully and finally, for all purposes.

                                      Respectfully submitted,

                                      HOLMAN FENWICK WILLAN USA LLP


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                                      CERTAIN UNDERWRITERS AT LLOYD’S
                                      LONDON
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                                      and

                                      PLUNKETT, GRIESENBECK &
                                      MIMARI, INC.


                                      /s/ Ruth G. Malinas
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                                      CHRISTOPHER SCOTT SMITH and
                                      VERSATILE INSURANCE PLANNERS, LLC


                                CERTIFICATE OF SERVICE

        A true and correct copy of the foregoing was served via the Court’s CM/ECF electronic
filing services, certified mail, return, receipt requested, facsimile and/or electronic mail on the
following counsel on this 1st day of August 2017:

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                                             /s/Jacob C. Esparza

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